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CHRISTINE CONFORTI,

UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF NEW JERSEY

Plaintiff
vs. Civil Action No.: 3:20-cv-

08267-FLW-TJB

CHRISTINE GTORDANO RANLON, in

her official capacity as Civil Action
Monmouth County Clerk, SCOTT M.
COLABELLA, in his official

capacity as Ocean County Clerk, | MOTION DATE: JANUARY 4, 2020
and PAULA SOLLAMI COVELLO, in
her official capacity as Mercer
County Clerk,

Defendants.

BRIEF IN SUPPORT OF DEFENDANT OCEAN COUNTY CLERK
SCOTT M. COLABELLA’S
MOTION TO DISMISS PLAINTIFF'S COMPLAINT PURSUANT
F.R.C.P. 12(b)} (6) AND (b) (7)

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PRELIMINARY STATEMENT

This matter arises out of Plaintiff Christine Conforti’s
(“Plaintiff”) Complaint for Declaratory Judgment on federal and

state constitutional grounds against Ocean County Clerk, Scott

M. Colabella, (“Ocean County Defendant”), Monmouth County Clerk,
Christine Giordano Hanlon, (“Monmouth County Defendant”), and
Mercer County Clerk, Paula Sollami Covello, (“Mercer County
Clerk”).

The gravamen of Plaintiff’s Complaint is that the New
Jersey bracketing statute, N.J.S.A. 19:49-2, violates her
federally-protected constitutional rights of association (or
right not to associate with a political party), equal protection
of the laws as bracketed candidates obtain preferential baliot
placement because of segregated ballot drawings between
bracketed and unbracketed candidates, and causes her a loss of
votes due to her disadvantaged ballot position as an unbracketed
candidate.

Plaintiff’s Complaint must be dismissed as a matter of law
for failure to state a claim under F.R.C.P. 12(b) (6).

PLAINTIFF LACKS STANDING:

As a threshold matter, Plaintiff lacks requisite standing
to file suit in accordance with Article III standing

requirements set forth in LaRoque v. Holder, 650 F.3d 777, 787

(D.C. Cir. 2011), Shays v. FEC, 414 F.3d 76, 82 (D.C. Cir.

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2005), and Lujan v. Defenders of Wildlife, 504 U.S. 5355, 560-61,

112 S.ct. 2136, 119 L.Ed.2d 351 (1992). The Democratic primary
election forming the subject matter of this Complaint has
already passed. Article III standing requires more than “some
day’ intentions” to support a finding of the “actual or

imminent’ injury that our cases require.” Nader v. Federal

Election Com'n, 725 F.3d 226, 229 (D.C. Cir. 2013) (quoting Lujan

vy. Defenders of Wildlife, 504 U.S. 555, 564, 112 S.Ct. 2130, 119

L.Ed.2d 351 (1992)).

Similarly, Piaintiff lacks Article III standing due to the

absence of proof that her injury is traceable to the Ocean
County Clerk’s lawful exercise of discretionary authority under
N.Jd.S.A. 19:49-2. Proof of causation that the alleged injury is
fairly traceable to the defendant’s conduct is a touchstone of
Article III standing that Plaintiff fails to meet in this case.
Further, Plaintiff sued the county clerks who are acting in
good-faith under the color of state law, but did not name the
State, or the Secretary of State as a defendant in this case.
Naturally, naming either of these parties would bar this suit in
federal court under Eleventh Amendment immunity principles. In
the same vein, however, the Ocean County Clerk exercised his
discretionary authority under New Jersey state election law, the
subject and enforcement of which emanates from the State, with

the Secretary of State as the chief election official in the
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State. Therefore, the Ocean County Clerk acting under the aegis
of state election law should be conferred the same Eleventh
Amendment immunity protections from suit in federal court as any
other state official such as the Secretary of State.

PLAINTIFF’S CONSTITUTIONAL CLAIMS LACK MERIT:

Plaintiff's federal and state constitutional claims under

the First and Fourth Amendments and the Equal Protection Clause
of the Fourteenth Amendment fail as a matter of law.
Plaintiff's associational rights not to associate with a4

political party cannot interfere or trump the associational

rights of political parties to express their cohesive ideology
and shared political beliefs through bracketing of candidates on
a primary ballot.

Likewise, Plaintiff's Associational and Equal Protection

rights fail under the balancing test set forth in Bu ov. San

Francisco County Democratic Cent. Committee, 489 U.S. 214 (1989)

and Tashjian v. Republican Party of Connecticut, 479 U.S. 208,

107 S.ct. 544, 93 L.Ed.2d 514 (1986). Courts examine the
constitutionality of a state election law first to determine
whether it burdens rights protected by the First and Fourteenth
Amendments, and secondly, whether the state can provide a
compelling state interest justification for burdening such

rights. Tashjian v. Republican Party of Connecticut, supra, 479

U.S. at 217, 107 S.ct. 544; Illinois Bd. of Elections v.

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Socialist Workers Party, 440 U.S. 173, 184, 99 S.Ct. 983, 990,

59 L.Ed.2d 230 (1979).
It is well-settled that the associational rights of
political parties are an essential right protected by the First

Amendment. Buoy. San Francisco County Democratic Cent.

Committee, 489 U.S. 214 (1989); Richardson v. Caputo, 46 N.J. 3,

9 (1965). For ballot drawing purposes, the county clerk’s
treatment of bracketed candidates as a single unit to be drawn

for ballot placement is a statutory requirement under N.J.S5.A.

19:49-2.,

It is settled precedent under New Jersey law that the

county clerk’s exercise of discretion to conduct ballot drawing
separately between bracketed and unbracketed candidates does not
in itself constitute an Equal Protection Clause violation.

Quaremba v. Allan, 67 N.J. 1, 10-18 (1975), relying on strong

precedent in Hawkes v. Gates, 1429 W.J.L. 5S (1942); In re

Hoffman, 134 N.J.b. 155 (1946); Bado v. Gilfert, 13 N.J. Super.

363, 365 (App. Div. 1951); Harrison _v. Jones, 44 N.J. Super.

456, 461 (App. Div. 1957); Moskowitz v. Grogan, 101 N.J. Super.

111, 116 (App. Div. 1968).

The county clerk’s failure to draw ballot placement
separately between bracketed and unbracketed candidates would
defeat the legislative and constitutional purpose of bracketing.

Plaintiff is challenging the system of bracketing itself without
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which political parties are restrained from the expressive free

speech activity safeguarded in Eu, Quaremba, Richardson, and

other cases. Ballot drawings that included both bracketed and
unbracketed candidates for the same office would a fortiori the
ability of candidates for different offices to bracket with each
other under the same slogan.

A viable Equal Protection claim requires proof of
“invidious discrimination’ which offends the Constitution.”

Quaremba v. Allan, 67 N.d. 1 (1975) (quoting Ferguson v. Skrupa,

372 U.S. 726, 732, 83 S.Ct. 1028, 1032, 10 L.Ed.2d 93 (1963)).
Piaintiff has not provided any proof of intentional
discrimination. Instead, Plaintiff offers a professor’s summary

of the academic literature on positional ballot bias effect

without any specific proof in this case that such bias occurred
and resulted in loss of votes for Plaintiff that would have

impacted the outcome of her primary election loss.

Plaintiff's facial challenge to N.J.S.A. 19:49-2 must also
fail “where a statute has a “‘plainly legitimate sweep.’”

Crawford v. Marion County Election Bd., 553 U.S. 181, 202

(2008} (quoting Washington v. Glucksberg, 521 U.S. 702, 739-40,

and n. 7, 117 S.Ct. 2258, 138 L.Ed.2d 772 (1997)).
For these reasons, Plaintiff’s federal and analogous state

constitutional claims must be dismissed.
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LEGAL ARGUMENT

rT. PLAINTIFF’S FEDERAL AND ANALOGOUS STATE CONSTITUTIONAL
CLAIMS MUST BE DISMISSED UNDER F.R.C.P 12 (b) (6)

A. MOTION TO DISMISS STANDARD

F.R.C.P. 12(b) (6):

On a motion to dismiss for failure to state a claim, the
“defendant bears the burden of showing that no claim has been

presented.” Hedges v. United States, 404 F.3d 744, 750 (3d Cir.

2005). A district undertakes a three-part analysis when
considering a motion to dismiss under F.R.C.P. 12 (b) (6).

Malleus v. George, 641 F.3d 560, 563 (3d Cir. 2011). First, the

“court must take note of the elements a plaintiff must plead to

state a claim.” Id. (quoting Ashcroft v. Igbal, 556 U.S. 662,

675 (2009)). Second, the court must review the complaint to
strike any conclusory allegations. The court must accept as
true all of the Plaintiff's well-pleaded factual allegations and
“construe the complaint in the light most favorable to the

plaintiff.” Fowler v. UPMC Shadyside, 578 F.3d 203, 210 (3d

Cir. 2009). The court is free to ignore legal conclusions or
bald factual allegations that merely assert generalized harms.

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). Third, the court

must determine whether “the facts alleged in the complaint are

sufficient to show that the plaintiff has a ‘plausible claim for

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relief.'’” Fowler v. UPMC Shadyside, 578 F.3d 203, 210 (3d Cir.

2009) (quoting Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)).

Accordingly, for the reasons substantively set forth below,
Plaintiff's Complaint must be dismissed for failure to state a

claim based on the factual allegations made in the Complaint.

B. PLAINTIFF LACKS ARTICLE III STANDING

Plaintiff must satisfy all three requirements to establish
Article III standing to bring a claim in federal court. First,
Plaintiff must have suffered an “injury-in-fact.” Lujan v.

Defenders of Wildlife, 504 U.S. 555, 560 (1992). A “plaintiff

must offer evidence showing actual harm or a threat of imminent
harm to herself to show standing for damages or injunctive

relief for her own benefit”. Hummel v. St. Joseph County Board

of Commissioners, supza, 817 F.3d 1010 at 1019. Second,

Plaintiff must establish a causal connection between the conduct
complained of and the injury, i.e., plaintiff’s injury must be
fairly traceable to the defendant’s alleged conduct. Id.
Third, Plaintiff must show a likelihood, as opposed to mere
speculation, that her injury would be “redressed by a favorable
decision.” Id. at 561.

In this case, Plaintiff lacks Article III standing on

multiple grounds. First, Plaintiff does not provide any

specific evidence of an injury-in-fact or imminent harm. Article

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III standing requires more than “‘some day’ intentions” to
support a finding of the “‘*actual or imminent’ injury that our

cases require.” Nader v. Federal Election Com'n, 725 F.3d 226,

229 (D.C. Cir. 2013) (quoting Lujan v. Defenders of Wildlife, 504

U.S. 555, 564, 112 S.Ct. 2130, 119 L.Ed.2d 351 {(1992)).

In Nader v. Federal Election Com’n, 725 F.3d 226, 229

(D.C. Cir. 2013), the Circuit Court of Appeals for the District
of Columbia concluded that the plaintiff lacked standing as a
competitor in the election that already passed because he
speculated of a possible run again, but failed to concretely

state that he will run again, unlike the plaintiffs in LaRoque

v. Holder, 650 F.3d 777, 787 (D.C. Cir. 2011) and Shays v. FEC,
414 F.3d 76, 82 (D.C. Cir. 2005). Id. at 229.

In this case, Plaintiff commits the same fatal error in
paragraph 16 of her Complaint in which asserts that “Win or
lose, Conforti intends to run for office again.”

Similarly, Plaintiff lacks standing based on her failure to
provide evidence that establishes causation between the Ocean
County Clerk’s separate ballot drawing of bracketed and
unbracketed candidates and her loss of votes and ultimately the
primary election. Plaintiff only offers a summary of academic
literature on positional bias effect instead of specific proof
that she lost votes because of her placement on the ballot,

which she drew against the only other unbracketed candidate,

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David Applefield. The Ocean County Clerk treated all
unbracketed, unaffiliated candidates in the democratic primary
the same in terms of ballot drawing and placement in accordance
with N.J.S.A. 19:49-2,

Accordingly, Plaintiff lacks standing under Article IIf.

Cc. PLAINTIFF'S COMPLAINT FAILS TO ESTABLISH FEDERAL
AND STATE CONSTITUTIONAL VIOLATIONS

For purposes of clarity, Plaintiff’s federal and state
constitutional claims will be treated same since the claims are
identical in nature.

Plaintiff’s constitutional claims fail to state a claim for
relief under F.R.C.P. 12 (b) (6).

States possess “‘a broad power to prescribe the ‘Times,
Places, and Manner of holding Elections for Senators and
Representatives,’ [U.S. Const. Art f., $4, cl. 1, which power is
matched by state control over the election process for state

offices.’” Clingman v. Beaver, 544 U.S. 581, 586, 125 S.Ct.

2029, 161 L.Fd.2d 920 (2005) (quoting Tashjian v. Republican

Party of Connecticut, 479 U.S. 208,217,107 S.Ct. 544, 93 L.Ed.2d

514 (1986)). That state authority over the election process is
subject to limits established by the First Amendment rights of
citizens, which includes the freedom of political association,

or non-association. Eu v. San Francisco County Democratic Cent.

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Committee, 489 U.S. 214, 222 (1989) (quoting Tashjian_ v.

Republican Party of Connecticut, 479 U.5. 208, 217, 107 S.Ct.

544, 93 L.Ed.2d 514 (1986).

Election regulations imposing a severe burden on
associational rights are subject to scrutiny by the courts and
may be upheld only if they are narrowly tailored to serve a

compelling state interest. Clingman v. Beaver, 544 U.S. 581,

586, 125 $.ct. 2029, 161 L.Ed.2d 920 (2005).

Election regulations that impose only modest burdens on
associational rights requires a lower form of scrutiny in which
the state shows important reguiatory interests justify

reasonable, non-discriminatory restrictions. Anderson Vv.

Celebrezze, 460 U.S. 780, 788, 103 S.Ct. 1564, 75 L.Ed.2d 547

{1983). The U.S. Supreme Court has “repeatedly upheld
reasonable, politically neutral regulations that have the effect

of channeling expressive activity at the polls.” Burdick v.

fakushi, 504 U.S. 428, 438, 112 S.Ct. 2059, 119 L.Ed.2d 245
(1992).

Plaintiffs claiming an equal protection violation bear the
burden of providing some substantive proof of discrimination.

American Party of Texas v. White, 415 U.S. 767, 94 8.Ct. 1296,

39 L.Ed.2d 744 (1974). The Equal Protection clause requires

proof of invidious or intentional discrimination. Williamson v.

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Lee Optical Co., 348 U.S. 483, 489, 75 S.Ct. 461, 465, 99 L.Ed.

563 (1955).
As the New Jersey Appellate Division explained in Quaremba

v. Allan, 128 N.J. Super. 570, 574 (App. Div. 1974), quoting

from the U.S. Supreme Court’s reasoning in Williamson:

Legislatures are presumed to have acted
constitutionally and their statutory
classifications will be set aside only if no
grounds can be concerned to justify them. The

measure of equal protection has been described
variously as whether ‘the distinctions drawn have
some basis in practical experience,..or whether the
legislature’s action falls short of ‘the invidious
discrimination,..or whether ‘any state of facts
reasonably may be conceived to justify’ the
statutory discrimination,..or wnether the
classification is ‘on the basis of criteria wholly
unrelated to the objective of (the) statute.’

Plaintiff’s precise constitutional challenge to N.J.S.A.
19:49-2 has already been litigated before the New Jersey

Appellate Division and the Supreme Court of New Jersey.

i. LEGAL BACKGROUND OF N.J.S.A. 19:49-2:

N.J.S.A. 19:49-2 provides in relevant part:

For the primary election for the general election
in all counties where voting machines are or shall
be used, all candidates who shall file a joint
petition with the county clerk of their respective
county and who shall choose the same designation
or slogan shall be drawn for position on the
ballot as a unit and shall have their names placed
on the same line of the voting machine; and
provided further, that all candidates for
municipal or party office in municipalities in
counties where voting machines are or shail be
used who shall file a petition with the clerk of

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their municipality bearing the same designation or
slogan as that of the candidates filing a joint
petition with the county clerk as aforesaid, may
request that his or her name be placed on the same
line of the voting machine with the candidates who
have filed a joint petition with the county clerk
as aforesaid by so notifying the county clerk of
said county in writing within two days after the
last day for filing nominating petitions and
thereupon the county clerk shall forthwith notify
the campaign manager of such candidates filing a
joint petition as aforesaid of said request, and
if the said campaign manager shall file his
consent in writing with the said county clerk
within two days after the receipt of said
notification from said county clerk, the clerk of
said county shall place the name of such candidate
on the same line of the voting machine on which
appears the names of the candidates who have filed
the joint petition as aforesaid; provided, also,
that any candidate filing a petition with the
Attorney General may request that his or her name
be placed on the same line of the voting machine
with the candidates who have filed a joint
petition with the county clerk as aforesaid by so
notifying the county clerk of said county in
writing within two days after the last day for
filing nominating petitions, and thereupon the
county clerk shall forthwith notify the campaign
manager of such candidates filing a joint petition
as aforesaid of said request, and if the said
campaign manager shall file his consent in writing
with the said county clerk within two days after
the receipt of said notification from said county
clerk, the clerk of said county shall place the
name of such candidate on the same line of the
voting machine on which appears the names of the
candidates who have filed the joint petition as
aforesaid.

As early as 1942, the former Supreme Court of New Jersey
examined N.J.S.A. 19:49-2 and concluded that the statutory

language revealed no express legislative direction “as to the

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drawing for positions upon the ballot where there are present in
the field both independent unaffiliated candidates and

candidates affiliated under a slogan.” Hawkes v. Gates, 129

N.J.L. 5, 11 (1942). Therefore, the Hawkes court reasoned that
the legislature’s silence on ballot drawing between bracketed
and unbracketed candidates indicated that discretion rests with
the county clerk, and it was not for the court to read into the
statute legislative meaning where no has been expressed in the
statute. Id. at 11.

The Hawkes line of cases reinforced the court’s position
that WN.J.S.A. 19:49-2's silence meant that the iegislature

afforded the county clerks discretionary authority to conduct

ballot drawing as it pertains to bracketed and unbracketed

candidates. See, In re Hoffman, 134 N.J.L. 155 (1946); Bado v.

Gilfert, 13 N.J. Super. 363, 365 (App. Div. 1951); Harrison v.

Jones, 44 N.3. Super. 456, 461 (App. Div. 1957); Moskowitz v.

Grogan, 101 N.J. Super. 111, 116 (App. Div. 1968).

The Supreme Court of New Jersey established the court’s
responsibility to check the seemingly amorphous discretionary

authority of the county clerks in this realm. In Richardson v.

Caputo, 46 N.J. 3 (1965), the court addressed whether the Essex
County Clerk properly exercised his discretionary authority by
reassigning ballot positions for remaining candidates for

different offices after candidates for one particular political

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party withdrew from the race. Crucially for our purposes, the
court held that aithough the court generally defers to the
legislative scheme and delegated authority, “if it clearly
appears the course taken is not rooted in reason, the bounds of
the delegated authority have been exceeded and it is the duty of
the court to say so.” Id. at 9, Put simply, the county clerk’s
discretionary authority is subject to judicial review when his
exercise of discretion is not “rooted in reason.”

With that ‘judicial responsibility in mind, the court
underscored the county clerk’s authority to place bracketed
candidates on separate columns from unbracketed unaffiliated

candidates. Farrington v. Falcey, 96 N.J. Super. 409, 412-14

(App. Div. 1967).

The Appellate Division’s opinion in Moskowitz v. Grogan,

101 N.J. Super. 111, 116 (App. Div. 1968) is the court’s

clearest undergirding of the county clerk’s authority to draw

ballots separately between bracketed candidates as a single unit
and unbracketed, unaffiliated candidates.

Moskowitz was a consolidated case involving two separate
county clerks but the same candidates in the same Democratic
primary. In both primary ballots, an unbracketed, unaffiliated
candidate-plaintiff requested that the county clerks draw for
positions on the ballot among ail four slates of candidates,

including as between bracketed and wunbracketed candidates.

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Moskowitz v. Grogan, 101 N.J. Super. 111, 113-116 (App. Div.

1968)

Relying on Hawkes and its progeny as well as the statutory
language of N.J.S.A. 19:49-2, the court held that “where there
are two or more groups of candidates whose joint petitions were
filed with the County Clerk (hereafter cailed, for brevity,
county candidates), there must be a drawing for position as
between those groups, drawn as a unit,” regardless of whether
candidates for municipal or state-wide office affiliated with

the county candidates. Moskowitz v. Grogan, 101 N.J. Super.

111i, 116 {App. Div. 1968}.

Similarly, the court reasoned, two or more groups of state
candidates who are bracketed but not affiliated with county
candidates are entitied, as units, to a drawing position on the
ballot as among themselves, but not as against those affiliated
with the county candidates because that would displace state
candidates bracketed with county candidates from being on the
same line. Id. at 116.

The Quaremba set of cases yielded judicial opinions from
the Appellate Division and the Supreme Court of New Jersey that
essentially confronted the same constitutional challenge to
N.J.S.A. 19:49-2 presented in Plaintiff’s Complaint. These
separate opinions stem from the same lawsuit. In Quaremba,

plaintiffs were candidates who lost in the Republican primary

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election. Two of the plaintiffs were candidates for state
senator and one plaintiff was a candidate for county freeholder.
Analogous to the instant complaint, these plaintiffs filed a
declaratory judgment action tnat N.J,S.A. 19:49-2 was
unconstitutional on equal protection grounds because it
arbitrarily favors bracketed primary candidates with

advantageous ballot placement. Quaremba_v. Allan, 128 N.d.

Super. 570, 572 (App. Div. 1974).

The Appellate Division underscored the lLegisilature’s
authority to adopt reasonable regulations for the conduct of
primary and general elections, and found “nothing inherently
wrong or invidious in permitting candidates with like views to
be grouped together on the ballot.” Id. at 575. Importantly,
the Appellate Division rejected the argument that simply
pointing to the statutory scheme’s separate ballot drawing of
bracketed and unbracketed candidates constituted evidence of an
equal protection violation. The state’s interest in permitting
political parties and candidates to affiliate with political
parties on the ballot is the quintessence of free speech and
associational rights.

Likewise, the Supreme Court of New Jersey in Quaremba Vv.

Alian, 67 N.J. 1 (1975) reaffirmed the Appellate Division’s
reasoning on this equal protection point. The court aiso

amplified the point that even if plaintiffs’ allegation that

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unaffiliated candidates would draw more votes if other
candidates were not permitted to bracket together, “it affords
no basis for invalidating, as unreasonable, the legislative
determination that whatever the effect on an unaffiliated
candidate, the public interest is better served by permitting a
group of candidates having common aims or principles and
authorizing those candidates ‘to have this fact brought to the
attention of the voter in a primary election with the additional
effectiveness produced by alignment of their names = on the

machine ballot.’” Quaremba v. Allan, 67 N.J. 1, 13(1975) (quoting

Harrison v. Jones, 44 N.J. Super. 456, 461 (App. Div. 1957)).

More recently, in Schundler v. Donovan, 377 N.J. Super. 339

(App. Div. 2005}, the Appellate Division confronted the same
constitutional claim that separate ballot draws for ballot
placement between bracketed and unbracketed candidates
constituted discrimination violative of the equal protection
clause. Id. at 343. The court followed the Hawkes line of cases
in affirming the county clerk’s discretion in this statutory
scheme and indicated that the court will not substitute the
clerk's judgment unless that judgment is not “rooted in reason.”
Id. at 343-44. Equally significant, the court grounded its
decision in the plain meaning and language of N.J.S.A, 19:49-2.

Against the weight of seventy-eight years of precedent,

Plaintiff in this case challenges the constitutionality of the

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bracketing statute on equal protection grounds analogous to
prior challenges to the same statute, except in this case
Plaintiff offers nascent research of positional bias effect to
establish an equal protection clause violation.

Plaintiff alleges that N.J.S.A. 19:49-2 imposes severe
burdens on her right of association, or not to associate with a
political party and her right to be treated the same as
bracketed candidates in the ballot drawing by drawing for ballot

placement in the same drawing as bracketed candidates.

Under Eu’s balancing test, N.J.S.A. 19:49-2 arguably

burdens Plaintiff’s right of association, or non-association,
and her right to equal treatment in ballot placement in
Democratic primary elections. Plaintiff's Complaint myopically
views this balancing test in terms of her rights burdened
instead of examining the burdens imposed on political parties
and bracketed candidates associational rights if the bracketing
statute was invalidated.

The state’s interest in drawing separate ballot placement
for bracketed and unbracketed candidates is rooted in the plain
language of N.J.S.A. 19:49-2, The statute and precedential case
law interpreting this statute have reached a point that it is a
well-settled legal expectation, if not requirement, that the
county clerk draw ballots for bracketed candidates as a single

unit; therefore, ballot drawings for bracketed candidates cannot

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include unbracketed candidates. The state’s interest in
upholding N.J.S.A. 19:49-2 is to permit candidates of similar
political views to associate through the expressive activity of
bracketing on the ballot. Conversely, bracketing also permits
candidates of similar views to draw a contrast or disassociation
with candidates of differing views for voters.

Moreover, Plaintiff’s facial challenge to N.J.S.A. 19:49-2

runs counter to the U.S. Supreme Court’s jurisprudence in this

area that requires facial challenges to a statute to faii where

the statute has a “plainly legitimate sweep.” Crawford_v. Marion

County Blection Bd., 553 U.S. 181, 202 (2008) (quoting Washington

v. Glucksberg, 521 U.S. 702, 739-40, and on. 7, 117 S.Ct. 2258,

138 L.Ed.2d 772 (1997)). N.J.S.A. 19:49-2's plainly legitimate
sweep is the fostering and promotion of constitutionally
protected expressive activity and political speech through
bracketing and ballot placement.

If Plaintiff’s challenge prevails in this case, it will
impose severe burdens on the associational rights of political
parties, small and large, and candidates who share similar views
and want to express those views to the voters by grouping
together on the ballot in accordance with N.J.5.A. 19:49-2 and

the rest of the statutory scheme created by the Legislature.

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Accordingly, there is no valid federal constitutional basis
to invalidate a statute created and passed by democratically

elected Legislatures in New Jersey since 1941.

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CONCLUSION
For the reasons set forth herein, it is respectfully
submitted that Plaintiff’s Complaint should be dismissed as a

matter of law.

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Attorneys for Defendant Ocean
County Clerk, Scott M. Colabella

s/ CHRISTOPHER A. KHATAMI

Dated: December 7, 2020

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